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                                             January 12, 2021

Honorable John P. Cronan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

BY ECF & ELECTRONIC MAIL


                                             Re:       United States v. Svitlana Rohulya
                                                       20 Cr. 681 (JPC)
Your Honor:

        Ms. Rohulya, who is presently at liberty pursuant to a secured bond which limits her
travel to the Southern and Eastern Districts of New York, respectfully requests permission to
spend the holiday weekend with family in Pocono Lakes, PA, from January 15, 2021, through
January 18, 2021.

     Assistant United States Attorney Nicholas Chiuchiolo and Pretrial Services Officer
Dominque Jackson consent to this request.

       Thank you for your attention to this matter.

                                             Respectfully submitted,



                                             Mark S. DeMarco

cc:    Nicholas Chiuchiolo , Esq.
                                           It is hereby ORDERED that Defendant Rohulya's request is
       Assistant United States Attorney
                                           GRANTED. Defendant Rohulya may travel to Pocono Lakes,
       By Electronic Mail
                                           Pennsylvania, from January 15, 2021 through January 18, 2021.
       Officer Dominque Jackson            SO ORDERED.
       United States Pretrial Services
       By Electronic Mail                  Date:      January 12, 2021
                                                      New York, New York          ______________________
                                                                                  JOHN P. CRONAN
                                                                                  United States District Judge
